87 F.3d 1324
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.Juan Manuel ORTEGA-CALDERON, aka, Marco AntonioRamirez-Prado, Defendant-Appellant.
    No. 95-50202.
    United States Court of Appeals, Ninth Circuit.
    Submitted June 11, 1996.*Decided June 19, 1996.
    
      Before:  CANBY, NOONAN, and LEAVY, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      Juan Manuel Ortega-Calderon appeals his conviction and 46-month sentence following a guilty plea for being a deported alien found in the United States after a conviction for an aggravated felony, in violation of 8 U.S.C. § 1326(a), (b)(2).   Pursuant to Anders v. California, 386 U.S. 738 (1967), Ortega-Calderon's counsel filed a brief stating that he finds no meritorious issues for review, and a motion to withdraw as counsel of record.   Our independent review of the record pursuant to Penson v. Ohio, 488 U.S. 75, 83 (1988), discloses no issue for review.   Accordingly, the motion of counsel to withdraw is GRANTED and the district court's judgment is AFFIRMED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.   Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    